     Case
MIE (10/18)    2:19-cv-13588-NGE-DRG
            Notice to Plaintiff Regarding Service of Process   ECF No. 6, PageID.18 Filed 12/16/19 Page 1 of 1


                                                    UNITED STATES DISTRICT COURT
                                                    EASTERN DISTRICT OF MICHIGAN

Grayson-Bey,


                       Plaintiff(s),                                     Case No. 19-13588

v.                                                                       Honorable Nancy G. Edmunds

Southfield Police Department, et al,                                     Magistrate Judge David R. Grand


                       Defendant(s).
                                                                    /

                                NOTICE TO PLAINTIFF REGARDING SERVICE OF PROCESS

           The Court having considered and granted Plaintiff’s in forma pauperis application and Plaintiff having

indicated that he or she is waiving service by the U.S. Marshal and is responsible for effecting service;

           Accordingly, Plaintiff is directed to:

           • Complete and present to the Clerk’s Office for issuance, three (3) summonses
             for each defendant to be served, within fourteen (14) days of the date of this Notice.

Service must then be made on each named defendant within ninety (90) days after the complaint is filed, or the

court – on motion or on its own after notice to the Plaintiff – must dismiss the action without prejudice against that

defendant, or order that service be made within a specified period of time.

           Service of the complaint is governed by Rule 4 of the Federal Rules of Civil Procedure and Rule 2.105 of

the Michigan Rules of Court – State. If serving the complaint with a summons, a completed copy of the Summons

and Complaint Return of Service must be filed with the Court after service is complete as proof of service of

process.

           If serving the complaint with a Waiver of the Service of Summons, a signed U.S. Postal Service Certified

Mail receipt – green card (PS Form 3811) must be filed with the Court after Waiver is returned, to show proof of

service of process.


Date: December 16, 2019                                                  s/ L. Bartlett
                                                                         Case Manager
